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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :     Criminal No. 1:22-mj-00203-GMH
                                                :
       v.                                       :
                                                :
JOSEPH BRODY,                                   :
                                                :
                       Defendant.               :
                                                :

                                               ORDER

       Based upon the representations in the Parties’ Joint Motion to Continue and to Exclude

Time Under the Speedy Trial Act, and upon consideration of the entire record, the Court makes

the following findings:

       In this case, an ends-of-justice continuance is warranted under 18 U.S.C. § 3161(h)(7)(A)

based on the considerations described in 18 U.S.C. § 3161(h)(7)(B)(i), (ii), and (iv). Due to the

interest by the parties in producing and reviewing discovery, defendant’s ongoing investigation,

and the ongoing discussion regarding a potential resolution of this matter, the failure to grant such

a continuance in this proceeding would be likely result in a miscarriage of justice. Accordingly,

the ends of justice served by granting a request for a continuance outweigh the best interest of the

public and the defendant in a speedy trial.

       Therefore, it is this 10th day of May, 2023,

       ORDERED that the Parties’ Joint Motion to Continue and to Exclude Time Under the

Speedy Trial Act, is hereby GRANTED; it is further

       ORDERED that the currently scheduled status hearing on May 16, 2023, be continued for

good cause to August 15        , 2023, at     1 PM    ; and it is further
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       ORDERED that the time period from the date of this Order through and including the date

of the next hearing is hereby excluded from calculation under the Speedy Trial Act, 18 U.S.C. §

3161(h)(7)(A) and the computation of time within which indictment/information or trial must

commence.

                                                             Digitally signed by Zia M.
                                     Zia M. Faruqui Faruqui
                                                    Date: 2023.05.10 16:45:39 -04'00'
                                    ___________________________________
                                    THE HONORABLE ZIA M. FARUQUI
                                    UNITED STATES MAGISTRATE JUDGE
